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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

LEARNING RESOURCES, INC., et al.,                    )
                                                     )
                      Plaintiffs,                    )
                                                     )
       v.                                            )       Civil Action No. 1:25-cv-01248-RC
                                                     )
DONALD J. TRUMP, President of the United             )
States, in his official capacity, et al.,            )
                                                     )
                      Defendants.                    )

                        NOTICE OF SUPPLEMENTAL AUTHORITY

       Defendants respectfully notify the Court of the attached decision of the U.S. District

Court for the Northern District of Florida in Emily Ley Paper, Inc. v. Trump, No. 3:25-cv-464,

ECF No. 37 (N.D. Fla. May 20, 2025). The court held that a civil action challenging the

President’s imposition of tariffs under IEEPA fell within the exclusive jurisdiction of the Court

of International Trade and ordered transfer under 28 U.S.C. § 1631.

       Like plaintiffs here, the plaintiffs in Emily Ley Paper argued that IEEPA is not a “law . . .

providing for . . . tariffs” within the meaning of 28 U.S.C. § 1581(i). The court rejected that

argument, concluding “that the authority to ‘regulate imports’ includes the authority to impose

tariffs or duties on imports as a means of regulation.” Id. at 12 (citing United States v. Yoshida

Int’l, Inc., 526 F.2d 560, 575 (C.C.P.A. 1975)). Further, the court held that Congress provided

“‘clear authorization’ under the modern major questions doctrine.” Id. Thus, the court held that

“IEEPA authorizes the imposition of tariffs,” id. at 15, and transferred the case to the Court of

International Trade, which has exclusive jurisdiction under 28 U.S.C. § 1581. Id. at 18.

       Additionally, the plaintiffs in Emily Ley Paper had requested that the court stay any

transfer to seek immediate review by the Eleventh Circuit. Id. at 18 n.19. The court declined to




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do so and explained that the plaintiffs could “raise the jurisdictional issue in the CIT” as well as

“on appeal in the Federal Circuit.” Id.; see also id. at 7 n.9 (noting that the Federal Circuit’s

“opinions pertaining to §1581 and trade-related issues are particularly persuasive”). Although

plaintiffs in this case request dismissal rather than transfer if the Court concludes it lacks

jurisdiction so that they may seek immediate review by the D.C. Circuit, it is equally true here

that the Court of International Trade and Federal Circuit can (and should) address the

jurisdictional issue.

DATED: May 22, 2025                                  Respectfully submitted,

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